

People v Ivy (2017 NY Slip Op 06840)





People v Ivy


2017 NY Slip Op 06840


Decided on September 29, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on September 29, 2017

PRESENT: SMITH, J.P., CENTRA, CARNI, LINDLEY, AND WINSLOW, JJ. (Filed Sept. 29, 2017.) 


MOTION NO. (843/95) KA 06-00150.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vWILLIE IVY, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER Motion for writ of error coram nobis denied.








